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14   Attorneys for Plaintiff
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16                                   UNITED STATES DISTRICT COURT

17                              EASTERN DISTRICT OF CALIFORNIA

18                                      SACRAMENTO DIVISION

19

20   AMANDA CAUDEL, et al.,                       Case No. 2:20-cv-00848-KJM-KJN
21                      Plaintiff,                JOINT STIPULATION EXTENDING
                                                  TIME FOR DEFENDANT TO RESPOND
22        v.                                      TO FIRST AMENDED COMPLAINT;
                                                  ORDER
23   AMAZON.COM, INC.,
24                      Defendant.
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                                                         JOINT STIPULATION AND ORDER SETTING
                                                                           BRIEFING SCHEDULE
                                                                          2:20-CV-00848-KJM-KJN
     Case 2:20-cv-00848-KJM-KJN Document 42 Filed 01/21/22 Page 2 of 4


 1   This Joint Stipulation is made with reference to the following facts:

 2          1.      Defendant Amazon.com, Inc. (“Amazon”) filed a motion to dismiss on October

 3                  26, 2020 (Dkt. No. 14);

 4          2.      The Court granted Amazon’s Motion to Dismiss on October 15, 2021 (Dkt. No.

 5                  36) without prejudice, allowing Plaintiff opportunity to amend her complaint;

 6          3.      The Court entered a Minute Order on December 22, 2021 (Dkt. No. 39) permitting

 7                  Plaintiff to file an amended complaint;

 8          4.      Plaintiff filed her First Amended Complaint (Dkt. No. 40) on January 5, 2022, in

 9                  which she added three additional named plaintiffs and further allegations of fact;

10          5.      Counsel for Defendant Amazon.com, Inc. has requested additional time to file its

11                  responsive pleading;

12          6.      The parties have conferred and agreed that Amazon’s responsive pleading shall be

13                  due approximately 45 days following the filing of the First Amended Complaint

14                  shall be due on or before February 22, 2022.

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16          Accordingly, the parties HEREBY STIPULATE that Defendant’s time for filing its

17   responsive pleading to Plaintiffs’ First Amended Complaint is extended to February 22, 2022.

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                                                               JOINT STIPULATION AND ORDER SETTING
                                                      -2-                        BRIEFING SCHEDULE
                                                                                2:20-CV-00848-KJM-KJN
     Case 2:20-cv-00848-KJM-KJN Document 42 Filed 01/21/22 Page 3 of 4


 1   Respectfully submitted,

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     DATED: January 18, 2022
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                                                  JOINT STIPULATION AND ORDER SETTING
                                           -3-                      BRIEFING SCHEDULE
                                                                   2:20-CV-00848-KJM-KJN
     Case 2:20-cv-00848-KJM-KJN Document 42 Filed 01/21/22 Page 4 of 4


 1                                              ORDER
 2
            Defendant’s time for filing its responsive pleading to Plaintiffs’ First Amended Complaint
 3
     is extended to February 22, 2022.
 4
            IT IS SO ORDERED.
 5

 6   DATED: January 20, 2022.
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                                                             JOINT STIPULATION AND ORDER SETTING
                                                    -4-                        BRIEFING SCHEDULE
                                                                              2:20-CV-00848-KJM-KJN
